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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


      IMPLICIT, LLC,
           Plaintiff,

      v.                                                 Civil Action No. 2:19-cv-00040-JRG-RSP
                                                                       LEAD CASE
      IMPERVA, INC.
           Defendant.
                                                               JURY TRIAL DEMANDED
      v.
                                                         Civil Action No. 2:19-cv-00042-JRG-RSP
     Sophos, Ltd.                                                     MEMBER CASE
           Defendant.



                       JOINT MOTION TO DISMISS WITH PREJUDICE

           Plaintiff Implicit, LLC, and Defendant Sophos, Ltd., pursuant to Fed. R. Civ. P. 41(a)(2),

  hereby move for dismissal WITH PREJUDICE of all currently pending claims in Civil Action

  No. 2:19-cv-00042 and with each party to bear its own costs, expenses, and fees.

   Dated: September 17, 2019                          Respectfully submitted,

   By: /s/ Lana Shiferman___                          By: /s/ Darrell Rae Atkinson_______

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  Joint Motion to Dismiss Pursuant to Rule 41(a)(2)                                                 1
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                                    CERTIFICATE OF SERVICE

           The undersigned certifies that the foregoing document is being filed electronically in

  compliance with Local Rule CV-5(a). As such, this document is being served on all counsel who are

  deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to Federal Rule

  of Civil Procedure 5(d) and Local Rule CV-5(d) and (e), any counsel of record not deemed to have

  consented to electronic service will be served with a true and correct copy of the foregoing by email

  on this 17th day of September, 2019

                                                         /s/ Darrell Rae Atkinson
                                                         Darrell Rae Atkinson


  Joint Motion to Dismiss Pursuant to Rule 41(a)(2)                                                  2
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